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                           UNITED STATES DISTRICT COUR poc #:,-----,-,,+H-H-t-r--
                          SOUTHERN DISTRICT OF NEW YO ~;ATE~FIL~E~D;:~~~:=::!.J

                                                          Case No. 1:19~cv-01704 (JSR)
IN RE GSE BONDS ANTITRUST
LITIGATION



            ~ PRO~ PRELIMINARY APPROVAL ORDER
       WHEREAS, Plaintiffs Joseph M. Torsella, in his official capacity as the Treasurer of the

Commonwealth of Pennsylvania and statutory custodian of all Commonwealth Funds; City of

Birmingham Retirement and Relief System; Electrical Workers p'ension Fund Local 103,

I.B.E.W.; and Local 103, I.B.E.W. Health Benefit Plan ("Plaintiffs") 011- behalf of themselves and

the other members of the Settlement Class, and Deutsche Bank Securities Inc. ("Deutsche

Bank") have determined to settle all claims asserted against Deutsche Bank and its predecessors,

s"ll:ccessors, assigns, subsidiaries, and affiliates, including Deutsche Bank AG, in this Action with

prejudice on the terms and conditions set forth in the Stipulation and 'Agreement of Settlement

dated August 21, 2019 (the "Deutsche Bank Stipulation"), subject to approval of this Court (the
                                                                          '
"Deutsche Bank Settlement");

       WHEREAS, Plaintiffs on behalf of themselves and the other members of the Settlement

Class, and First Tennessee Bank, N.A. and FTN Financial Securi~ies Corp. ("FTN") have

determined to settle all claims asserted against FTN, and their predecessors, successors, assigns,

subsidiaries, and affiliates, including First Horizon National Corp., in this Action with prejudice

on the terms and conditions set forth in the Stipulation and Agreement of Settlement dated

September 16, 2019 (the "FTN Stipulation" and, together with the Deutsche Bank Stipulation,

the "Stipulations"), subject to approval of this Court (the "FTN Settlement" and, together with

the Deutsche Bank Settlement, the "Settlements");
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       WHEREAS, Plaintiffs have made applications, pursuant to Rule 23 of the Federal Rules

of Civil Procedure, for an order preliminarily approving the Settlements in accordance with the

Stipulations, and approving notice of the Settlements to the Settlement Class as more fully

described herein;

       WHEREAS, the Court has considered: (i) Plaintiffs' motion for preliminary approval of

the Deutsche Bank Settlement and the papers filed and arguments made in connection therewith;

(ii) Plaintiffs' motion for preliminary approval of the FTN Settlement and the papers filed and

arguments made in connection therewith; and (iii) the Stipulations and the exhibits attached

thereto; and

       WHEREAS, unless otherwise defined herein, all capitalized terms contained in this Order

shall have the same meanings as they have in the Stipulations;

       NOW THEREFORE, IT IS HEREBY ORDERED:

       1.      Preliminary Approval of the Settlements - Pursuant to Fed. R. Civ. P.

23(e)(l)(B), based on "the parties' showing that the court will likely be able to: (i) approve the

proposal[s] under Rule 23(e)(2); and (ii) certify the class for purposes of judgment on the

proposal[s]," the Court hereby preliminarily approves the Settlements, as embodied in the

Stipulations, and "direct[s] notice in a reasonable manner to all class members who would be

bound by the proposal[s]," as described below. Fed. R. Civ. P. 23(e)(l)(B); id. at (i)-(ii).

       2.      Settlement Hearing - The Court will hold a settlement hearing (the "Settlement

Hearing") on   fe,byw;lY~ 2i 1 1-0 20        at -'h'-l"p. .v
                                                           . y i ~ - - - - - ~ at the Daniel Patrick
Moynihan United States Courthouse, 500 Pearl St., New York, NY 10007, Courtroom 14B, for

the following purposes: (i) to determine whether the proposed Settl~ments on the terms and

conditions provided for in the Stipulations are fair, reasonable, and adequate to the Settlement




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Class, and should be approved by the Court; (ii) to determine whether Judgments substantially in

the form attached as Exhibit B to the Deutsche Bank Stipulation and FTN Stipulation should be

entered dismissing the Action with prejudice against Deutsche Bank and FTN; (iii) to determine

whether the proposed Plan of Distribution for the proceeds of the Settlements is fair and

reasonable and should be approved; (iv) to determine whether the application for an award of

attorneys' fees, reimbursement of Litigation Expenses, and any service awards for Plaintiffs

should be approved; and (v) to consider any other matters that may properly be brought before

the Court in connection with the Settlements. Notice of the Settlements and the Settlement

Hearing shall be given to Settlement Class Members as set forth in i-[4 of this Order.

       3.      The Court may adjourn the Settlement Hearing without further notice to the

Settlement Class, and may approve the proposed Settlements with such modifications as are

agreed to, if appropriate, without further notice to the Settlement Class.

       4.      Retention of Claims Administrator and Manner of Giving Notice - Co-Lead

Counsel are hereby authorized to retain A.B. Data, Ltd. (the "Claims Administrator") to

disseminate notice to the Settlement Class, process Claims, and administer the Settlement, as

more fully set forth below. Notice of the Settlements and the Settlement Hearing shall be given

as follows:

               (a)     Commencing not later than 10 business days after the date of entry of this

Order (the "Notice Date"), the Claims Administrator shall cause a copy of the Notice and the

Claim Form (together, the "Notice Packet"), substantially in the forms attached hereto as

Exhibits 1 and 2, respectively, to be mailed by first-class mail to the members of the Settlement

Class who can be identified through reasonable effort;




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                      (b)     Contemporaneously with the mailing of the Notice Packet, the Claims

      Administrator shall cause copies of the Notice and the Claim Form to be posted on the website
                                                                                  '
      developed for this Action, www.GSEBondAntitrustSettlement.com, from which copies of the

      Notice and Claim Form can be downloaded;

                      (c)     As soon as practicable after the mailing of the Notice Packet, the Claims
                                                                                   '
      Administrator shall cause the Publication Notice, substantially in the form attached hereto as

      Exhibit 3, to be published, at minimum, once each in The Wall Street Journal, The New York

      Times, The Financial Times, and The Bond Buyer and to be trans~itted once over the PR

     Newswire, as well as implement purchased banner ads on Zacks.com and Earehart.com; and

                      (d)     Prior to the Settlement Hearing, Co-Lead Counsel shall file with the Court

      proof, by affidavit or declaration, of such mailing and publication.

              5.      Approval of Form and Content of Notice - The Court: (i) approves, as to form

     and content, the Notice, the Claim Form, and the Publication Notice, attached hereto as Exhibits
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"'-. 1, 2, and 3, respectivelJ}f'-and (ii) finds that the mailing and distribution of the Notice and Clai~i~t

      Form and the publication of the Publication Notice in the manner and form set forth in ,I4 of this          :~~-
                                                                                                                        .)


      Order (a) is the best notice practicable under the circumstances; (b)·constitutes notice that is

      reasonably calculated, under the circumstances, to apprise Settlement Class Members of the

      proposed Settlements (including the Releases to be provided thereunder); of the application for

      an award of attorneys' fees, reimbursement of Litigation Expenses, and any service awards for

      Plaintiffs; of their right to object to the Settlements, Plan of Distribution, and/or application for

      an award of attorneys' fees, reimbursement of Litigation Expenses, and any service awards for

      Plaintiffs; and of their right to appear at the Settlement Hearing; ( c) constitutes due, adequate,

      and sufficient notice to all persons and entities entitled to receive notice of the proposed




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Settlements; and (d) satisfies the requirements of Rule 23 of the Federal Rules of Civil

Procedure, the United States Constitution (including the Due Process Clause), and all other

applicable law and rules. The date and time of the Settlement Hearing shall be included in the

Notice and Publication Notice before they are mailed and published, re~pectively.

       6.      Nominee Procedures - Co-Lead Counsel and the Claims Administrator shall use

reasonable efforts to give notice to nominee owners, such as brokerage firms and other persons

or entities who or which transacted for the beneficial interest of persons or organizations other

than themselves ("Nominees"), but not as beneficial owners. Nominees shall be requested to

either: (i) within seven (7) days of receipt of the Notice, request from the Claims Administrator

sufficient copies of the Notice to forward to all such beneficial owners and within seven (7)

calendar days of receipt of those Notices, forward them to all such beneficial owners; or

(ii) within seven (7) days ofreceipt of the Notice, provide a list of the names and addresses of all

such beneficial owners to the Claims Administrator for prompt distribution.

               (a)     For Nominees who chose the first option (i.e.,, elect to mail the Notice

directly to beneficial owners), the Claims Administrator shall forward the same number of

Notice Packets to such Nominees, and request that the Nominees, within seven (7) calendar days

ofreceipt of the Notice Packets, mail the Notice Packets to their beneficial owners;

               (b)     For Nominees who chose the second option (i.e., provide a list of names

and addresses of beneficial owners to the Claims Administrator), the Claims Administrator shall

promptly mail a copy of the Notice Packet to each of the beneficial owners whose names and

addresses the Nominee supplied, provided the Claims Administrator did not previously mail

Notice to such beneficial owners;




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               (c)    Upon full and timely compliance with this Order, Nominees who mail the

Notice Packets to beneficial owners may seek reimbursement of their reasonable expenses

actually incurred in complying with this Order by providing the Claims Administrator with

proper documentation supporting the expenses for which reimbursement is sought.              Such

properly documented expenses incurred by Nominees in compliance with the terms of this Order

shall be paid from the Settlement Fund.

       7.      CAFA Notice - As provided in the Stipulations, pursuant to the Class Action

Fairness Act, 28 U.S.C. §§1715 et seq. ("CAFA"), no later than ten (10) days following the filing

of the Stipulations with the Court, Deutsche Bank and FTN, at their own cost, shall serve proper

notice of their respective proposed Settlements upon those who are entitled to such notice

pursuant to CAFA. No later than seven (7) days before the Settlement Hearing, Deutsche Bank
                                                                        j




and FTN shall cause to be filed with the Court proof, by affidavit or declaration, regarding

compliance with CAFA § 17 l 5(b).

       8.      Participation in the Settlements - Settlement Class Members who wish to

participate in the Settlements and to be eligible to receive a distribution from the Net Settlement

Fund must complete and submit a Claim Form in accordance with the instructions contained

therein. Unless the Court orders otherwise, all Claim Forms must be submitted within 84 days

after the Notice Date.     Notwithstanding the foregoing, Co-Lead Counsel shall have the

discretion, but not the obligation, to accept late-submitted claims for processing by the Claims

Administrator so long as distribution of the proceeds of the Settlement Fund or Net Settlement

Fund is not materially delayed. By submitting a Claim Form, a person;or entity shall be deemed

to have submitted to the jurisdiction of the Court with respect to his, ,her, or its Claim and the

subject matter of the Settlements.




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       9.      Each Claim Form submitted must satisfy the following conditions: (i) it must be

properly completed, signed, and submitted in a timely manner in accordance with the provisions
                                                                        '
of the preceding paragraph; (ii) it must include any supporting documentation, as is deemed

adequate by Co-Lead Counsel or the Claims Administrator, for the transactions reported therein;

(iii) if the person executing the Claim Form is acting in a representative capacity, a certification

of his, her, or its current authority to act on behalf of the Settleme11t Class Member must be

included in the Claim Form to the satisfaction of Co-Lead Counsel or the Claims Administrator;

and (iv) the Claim Form must be complete and contain no material deletions or modifications of

any of the printed matter contained therein and must be signed under penalty of perjury.

Notwithstanding the foregoing, Co-Lead Counsel shall have the right, but not the obligation, to

waive what they deem to be formal or technical defects in any Claims submitted in the interest of

achieving substantial justice.

        10.    Any Settlement Class Member who or which does not t~mely and validly submit a

Claim Form or whose Claim is not otherwise approved by the Court: (i) shall be deemed to have

waived his, her, or its right to share in the Net Settlement Fund; (ii) shall be forever barred from

participating in any distributions therefrom; (iii) shall be bound by the provisions of the

Stipulations and the Settlements and all proceedings, determinations, orders, and judgments in

the Action relating thereto, including, without limitation, the Judgments or Alternate Judgments,

if applicable, and the Releases provided for therein, whether favorable or unfavorable to the

Settlement Class; and (iv) will be barred from commencing, maintaining, or prosecuting any of

the Settled Claims against each and all of the Settling Defendants, as more fully described in the

Stipulations and Settlement Notice.




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       11.     Exclusion from the Settlement Class - Any member of the Settlement Class

who or which wishes to exclude himself, herself, or itself from the Se~lement Class must request

exclusion in writing and in the manner set forth in the Notice, which shall provide that: (i) any

such request for exclusion from the Settlement Class must be mailed or delivered, such that it is

received by the Claims Administrator at GSE Bond Antitrust Settlement Exclusions c/o A.B.

Data, Ltd., P.O. Box 173001, Milwaukee, WI 53217 within 64 days after the Notice Date; and

(ii) each such request must: (a) state the name, address, and telephone number of the person or

entity seeking exclusion, and in the case of entities, the name and telephone number of the

appropriate contact person; (b) state that such person or entity request~ to be excluded from the

Settlement Class in the Action (In re GSE Bonds Antitrust Litigation~ Lead Case No. 1: 19-cv-

01704-JSR (S.D.N.Y.)); (c) provide documents sufficient to prove membership in the Settlement

Class; and (d) be signed by such person or entity requesting the exclusion or an authorized

representative, as well as proof of authorization to submit the request for exclusion if submitted

by an authorized representative. The request for exclusion shall be invalid and have no legal or

binding force or effect unless it provides the required information and is made within the time

stated above, or the request for exclusion is otherwise accepted by the C,ourt.

       12.     Any person or entity who or which requests to be and is excluded from the

Settlement Class shall not be entitled to receive any payment out of the Net Settlement Fund as

described in the Stipulations and Notice.

        13.    Appearance and Objections at Settlement Hearing - Any Settlement Class

Member who or which has not requested exclusion from the Settlement Class may enter an

appearance in the Action, at his, her, or its own expense, individually or through counsel of his,

her, or its own choice, by filing with the Clerk of Court a notice of ,appearance, and serving




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copies of such notice of appearance on Co-Lead Counsel, Deutsche Bank's Counsel, and FTN's

Counsel at the addresses set forth in ~14 of this Order, such that they are received within 64 days

after the Notice Date, or as the Court may otherwise direct. Any Settlement Class Member who

does not enter an appearance will be represented by Co-Lead Counsel.

       14.     Any Settlement Class Member may file a written dbjection to the proposed

Settlements, proposed Plan of Distribution, and/or application for an award of attorneys' fees,

reimbursement of Litigation Expenses, and any service awards for Plaintiffs and appear and

show cause, if he, she, or it has any cause, why any of the foregoing should not be approved;

provided, however, that no Settlement Class Member shall be heard or entitled to contest the

approval of the terms and conditions of any aspect of the proposed Settlements, proposed Plan of

Distribution, and/or application for an award of attorneys' fees, reimbursement of Litigation

Expenses, and any service awards for Plaintiffs, unless that person or entity has filed a written

objection with the Court and served copies of such objection on Co-Lead Counsel, Deutsche

Bank's Counsel, and FTN's Counsel at the addresses set forth below such that they are received
                                                                        .
within 64 days after the Notice Date, or as the Court may otherwise direct.

       Co-Lead Counsel                  Deutsche Bank's Counsel                FTN's Counsel

  Scott+Scott Attorneys at Law         Simpson Thacher & Bartlett            Covington & Burling
              LLP                                 LLP                                 LLP
   Attn: Christopher M. Burke              Attn: Abram Ellis                 Attn: Robert D. Wick
  600 W. Broadway, Suite 3300                John Terzaken                       HenryB. Liu
      San Diego, CA 92101                  900 G. Street, NW                  Carol Szurkowski
 Email: cburke@scott-scott.com           Washington, DC 20001                     Jeffrey Cao
                                        Email: aellis@stblaw.com                One CityCenter
    Lowey Dannenberg, P.C.             john.terzaken@stblaw.com              850 Tenth Street NW
     Attn: Vincent Briganti                                                 Washington, DC 20001
 44 South Broadway, Suite 1100                                              Email: rwick@cov.com
    White Plains, NY 10601                                                      hliu@cov.com
  Email: vbriganti@lowey.com                                                cszurkowski@cov.com
                                                                                jcao@cov.com




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       15.     Any objections, filings, or other submissions by the objecting Settlement Class

Member must: (i) state the name, address, and telephone number of the person or entity objecting

and must be signed by the Settlement Class Member (an attorney's signature is not sufficient);

(ii) state the name of the Action (In re GSE Bonds Antitrust Litigation, Lead Case No. 1: l 9-cv-

Ol 704-JSR (S.D.N.Y.)); (iii) contain a statement of the Settlement Class Member's objection or
                                                                      '
objections, and the specific reasons for each objection, including any legal and evidentiary

support the Settlement Class Member wishes to bring to the Court's attention; (iv) state whether

the objection applies only to the Settlement Class Member, a specific subset of the Settlement

Class, or the entire Settlement Class; and (v) include documents sufficient to prove the

Settlement Class Member's membership in the Settlement Class.                 Objectors who enter an
                                                                         ,,
appearance and desire to present evidence at the Settlement Hearing in:support of their objection

must also include in their written objection or notice of appearance the identity of any witnesses

they may call to testify and any exhibits they intend to introduce into evidence at the hearing.

       16.     Any Settlement Class Member who or which does not make his, her, or its

objection in the manner provided herein shall be deemed to have waived his, her, or its right to

object to any aspect of the proposed Settlements, proposed Plan of Distribution, and/or

application for an award of attorneys' fees, reimbursement of Litigation Expenses, and any

service awards for Plaintiffs, and shall be forever barred and foreclosed from objecting to the

fairness, reasonableness, or adequacy of any of the foregoing from otherwise being heard

concerning any of the foregoing in this or any other proceeding.

        17.    Notice and Administration Costs - All reasonable Notice and Administration

Costs up to $500,000 shall be paid as set forth in the Deutsche Bank Stipulation and FTN




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Stipulation without further order of the Court. Any Notice and Administration Costs in excess of

$500,000 may be paid from the Settlement Fund only with the approval of the Court.

         18.   Settlement Fund - The contents of the Settlement Fund held by Huntington

National Bank (which the Court approves as the Escrow Agent), shall be deemed and considered

to be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until

such time as they shall be distributed pursuant to the Stipulations and/or further order(s) of the

Court.

         19.   Taxes - Co-Lead Counsel are authorized and directed to prepare any tax returns

and any other tax reporting form for or in respect to the Settlement Fund, to pay from the

Settlement Fund any Taxes owed with respect to the Settlement Fund, 'and to otherwise perform

all obligations with respect to Taxes and any reporting or filings in respect thereof without

further order of the Court in a manner consistent with the provisions of the Stipulations.

         20.   Termination of Settlements - If the Settlements are terminated as provided in

the Stipulations, the Settlements are not approved, or the Effective ,Date of the Settlements

otherwise fails to occur, this Order shall be vacated, rendered null and void and be of no further

force and effect, except as otherwise provided by the Stipulations, ,and this Order· shall be

without prejudice to the rights of Plaintiffs, the other Settlement Class Members, Deutsche Bank,

and FTN, and the Parties shall revert to their respective positions in the Action as of July 12,

2019 (Deutsche Bank Parties) and September 3, 2019 (FTN Parties), as provided in the

respective Stipulation.

         21.    Use of This Order - Neither this Order, the Stipulations (whether or not

consummated), including the exhibits thereto and the Plan of Distribution contained therein (or

any other plan of Distribution that may be approved by the Court), the negotiations leading to the




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execution of the Stipulations, nor any proceedings taken pursuant to or in connection with the

Stipulations and/or approval of the Settlements (including any argume1;1ts proffered in connection

therewith): (i) shall be offered against any of the Settling Defendants as evidence of, or construed

as, or deemed to be evidence of any presumption, concession, or admission by any of the Settling

Defendants with respect to the truth of any fact alleged by Plaintiffs o,r the validity of any claim
                                                                          I




that was or could have been asserted, or the deficiency of any deferise that has been or could

have been asserted, in this Action or in any other litigation, or of any liability, negligence, fault,

or other wrongdoing of any kind of any of the Settling Defendants or in any way referred to for

any other reason as against any of Settling Defendants, in any civil, criminal, or administrative

action or proceeding, other than such proceedings as may be necessary to effectuate the

provisions of the Stipulations; (ii) shall be offered against any of the Released Plaintiff Parties, as

evidence of, or construed as, or deemed to be evidence of any presumption, concession, or

admission by any of the Released Plaintiff Parties that any of their cla;ms are without merit, that

any of the Settling Defendants had meritorious defenses, or that damages recoverable under the
                                                                          '

operative Complaint would not have exceeded the Settlement Amount, or with respect to any

liability, negligence, fault, or wrongdoing of any kind, or in any war referred to for any other

reason as against any of the Released Plaintiff Parties, in any civil, ~riminal, or administrative

action or proceeding, other than such proceedings as may be necessary to effectuate the

provisions of the Stipulations; or (iii) shall be construed against any of the Released Parties as an

admission, concession, or presumption that the consideration to be given under the Settlements

represents the amount which could be or would have been recovered after trial; provided,

how.ever, that if the Stipulations are approved by the Court, the Parties, the Released Parties, and




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their respective counsel may refer to it to effectuate the protections from liability granted

thereunder or otherwise to enforce the terms of the Settlements.

        22.    All proceedings in the Action with respect to Settling Qefendants are stayed until

further order of the Court, except as may be necessary to implement the Settlements set forth in

the Stipulations or comply with the terms thereof. Pending final determination of whether the

Settlements set forth in the Stipulations should be approved, each Plaintiff and each Settlement

Class Member, either directly, representatively, or in any other capacity, is enjoined from

prosecuting in any forum any Settled Claim or assisting any third party in commencing or

maintaining any suit against any Settling Defendant related in any way to any Settled Claim.

        23.    Supporting Papers - Co-Lead Counsel shall file the opening papers in support of

final approval of the proposed Settlements, the Plan of Distribution, and the application for an

award of attorneys' fees, reimbursement of Litigation Expenses, and any service awards for

Plaintiffs no later than 54 days after the Notice Date; and reply papers, if any, shall be filed no

later than 94 days after the Notice Date.

        24.    Summary of Deadlines - The Settlements, as preliminarily approved in this

Order, shall be administered according to their terms pending the Settlement Hearing. Deadlines

arising under the Settlements and this Order include, but are not limited to, the following:

    •   Notice: to commence not later than 10 business days after entry of this Order ("Notice
        Date");

    •   Application for attorneys' fees and Litigation Expenses ("Fee, Application"): to be filed 54
        days after the Notice Date;                                   '

    •   Motion for Final Approval of the Settlements ("Final Approval Motion"): to be filed 54
        days after the Notice Date;

    •   Objection Deadline: 64 days after the Notice Date;

    •   Opt-Out Deadline: 64 days after the Notice Date;



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       •   Claims Deadline: 84 days after the Notice Date;

       •   Replies in Support of Final Approval and Fee Motion: to be ~led 94 days after the Notice
           Date; and

       •   Settlement Hearing:   td?V"IA~ lg 1 ~UJat I--; (JO p~
           25.    The Court retains jurisdiction to consider all further applications arising out of or

    connected with the proposed Settlements.                               ·             LI _   LZ.
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           J_(;. A. ~ ~
           SO ORDERED. ~ ~ -' ,;; ..._ /4--...                    i-;;f;;
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                                                         HO~.RAK.OFF
                                                         United States District Judge

    DATED:        NewYork,NY

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